Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 1 of 15 Page ID #:7037



 1   Stephen McArthur (SBN 277712)                 Rollin A. Ransom (State Bar No. 196126)
     stephen@smcarthurlaw.com                      rransom@sidley.com
 2   Thomas Dietrich (SBN 254282)                  Lauren M. De Lilly (State Bar No. 301503)
     tom@smcarthurlaw.com                          ldelilly@sidley.com
 3   THE MCARTHUR LAW FIRM, P.C.                   Paula C. Salazar (State Bar No. 327349)
     9465 Wilshire Blvd., Ste. 300                 psalazar@sidley.com
 4   Beverly Hills, CA 90212                       SIDLEY AUSTIN LLP
     Telephone: (323) 639-4455                     555 West Fifth Street
 5                                                 Los Angeles, CA 90013
     Attorneys for Plaintiff Thrive                Telephone: (213) 896-6000
 6   Natural Care, Inc.                            Facsimile: (213) 896-6600
 7                                                 Attorneys for Defendant Thrive
                                                   Causemetics, Inc.
 8
 9                              UNITED STATES DISTRICT COURT
10                             CENTRAL DISTRICT OF CALIFORNIA
11
     THRIVE NATURAL CARE, INC.,                     Case No. 2:20-cv-9091-PA-AS
12
                  Plaintiff,                        Hon. Percy Anderson
13
           v.                                       DEFENDANT’S JOINT MOTION IN
14                                                  LIMINE NO. 1
     THRIVE CAUSEMETICS, INC.,
15                                                  Hearing Date: November 1, 2021
                  Defendant.                        Time:         1:30 p.m.
16
                                                    Trial Date:    November 9, 2021
17                                                  Time:          9:00 a.m.
                                                    Place:         Courtroom 9A
18
19
20
21
22
23
24
25
26
27
28

                               DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 2 of 15 Page ID #:7038



 1                                             TABLE OF CONTENTS
 2                                                                                                                      PAGE
 3   I.       DEFENDANT’S MOTION IN LIMINE NO. 1 .................................................. 1
 4   INTRODUCTION AND BACKGROUND ................................................................... 1
 5   ARGUMENT .................................................................................................................. 2
 6            A.       Legal Standard ........................................................................................... 2
 7            B.       Plaintiff Is Unable to Provide Non-Speculative Evidence Regarding
                       Harm to the Value of the THRIVE Trademark. ........................................ 3
 8
              C.       Drews’ Corrective Advertising Methodology is Arbitrary and the
 9                     Resulting Speculative Analysis Should Be Excluded................................ 4
10   II.      PLAINTIFF’S RESPONSE TO TCI’S MOTION IN LIMINE NO. 2 ................ 6
11            A.       TCI’s Motion is a Dispositive Motion in Disguise .................................... 6
12            B.       Corrective Advertising Damages No Longer Directly At Issue ................ 6
13            C.       Testimony Relevant to Disgorgement Should Be Permitted ..................... 7
14   III.     DEFENDANT’S REPLY ..................................................................................... 7
15            A.       Plaintiff Cannot Offer Evidence of An Undisclosed Damages Theory..... 7
16            B.       Plaintiff’s Purported Evidence of Actual Harm Is Purely Speculative...... 9
17
18
19
20
21
22
23
24
25
26
27
28
                                                                 -i-
                                    DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 3 of 15 Page ID #:7039



 1
                                               TABLE OF AUTHORITIES
 2
 3   Cases                                                                                                                  Page(s)

 4   Adray v. Adry-Mart, Inc.,
       76 F.3d 984 (9th Cir. 1995) .................................................................................. 4
 5
 6   Bennion & Deville Fine Homes Inc. v. Windermere Real Est. Servs. Co.,
       2018 WL 4802011 (C.D. Cal. July 17, 2018) .................................................. 8, 9
 7
     Binder v. Disability Group,
 8
        772 F. Supp. 2d 1172 (C.D. Cal. 2011) ................................................................ 5
 9
     Daubert v. Merrell Dow Pharmaceuticals, Inc.,
10     509 U.S. 579 (1993)...................................................................................... 1, 3, 4
11
     Fifty-Six Hope Rd. Music, Ltd. v. A.V.E.L.A., Inc.,
12      778 F.3d 1059 (9th Cir. 2015) .............................................................................. 7
13   FiTeq INC v. Venture Corp.,
14      2016 WL 693256 (N.D. Cal. Feb. 22, 2016) ........................................................ 3
15   Int’l Oddities v. Record,
         2013 WL 3864050 (C.D. Cal. July 22, 2013) ...................................................... 5
16
17   Kaneka Corp. v. SKC Kolon PI, Inc.,
       No. CV 11-3397 JGB (RZX), 2015 WL 12696109 (C.D. Cal. Nov. 5,
18     2015) ..................................................................................................................... 6
19
     Ketab Corp. v. Mesriani Law Grp.,
20      2016 WL 5921767 (C.D. Cal. Mar. 18, 2016) ..................................................... 8
21   Marketquest Group, Inc. v. BIC Corp.,
22     316 F.Supp.3d 1234 (S.D. Cal. 2018) .................................................................. 5
23   Spin Master, Ltd. v. Zobmondo Entertainment, LLC,
24      2011 WL 13127349 (C.D. Cal. Sept, 15, 2011) ............................................... 4, 5

25   Synthes USA, LLC v. Spinal Kinetics, Inc.,
        2011 WL 11709387 (N.D. Cal. Aug. 19, 2011) ................................................... 2
26
27   United States v. Figeroa-Lopez,
       125 F.3d 1241, 1246 (9th Cir. 1997) .................................................................... 2
28
                                                                    -ii-
                                      DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 4 of 15 Page ID #:7040



 1   Vinotemp Int’l Corp. v. Wine Master Cellars LLLP,
 2      2013 WL 5366405 (C.D. Cal. Feb. 5, 2013) ........................................................ 8

 3   Wallach v. Longevity Network, Ltd.,
       2006 WL 5106208 (C.D. Cal. Apr. 26, 2006) ...................................................... 3
 4
 5   Statutes

 6   15 U.S.C. § 1117 .................................................................................................... 7, 8
 7   Other Authorities
 8
     Fed. R. Civ. P. 26 ....................................................................................................... 8
 9
     Fed. R. Civ. P. 30 ................................................................................................. 3, 10
10
     Fed. R. Evid. 602 ....................................................................................................... 1
11
12   Fed. R. Evid. 701 ................................................................................................... 1, 2
13   Fed. R. Evid. 702 ............................................................................................... 1, 2, 3
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                  -iii-
                                     DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 5 of 15 Page ID #:7041



 1   I.    DEFENDANT’S MOTION IN LIMINE NO. 1
 2         Pursuant to Federal Rules of Evidence 602, 701, 702, and Daubert v. Merrell
 3   Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), Defendant Thrive Causemetics, Inc.
 4   (“TCI”) moves to preclude Plaintiff Thrive Natural Care, Inc. (“Plaintiff”) from
 5   offering at trial: 1) any evidence or argument regarding alleged harm to the value of
 6   the THRIVE trademark; and 2) the corrective advertising analysis and related opinion
 7   from Plaintiff’s purported damages expert David Drews.
 8                        INTRODUCTION AND BACKGROUND
 9         Plaintiff claims that TCI infringed Plaintiff’s purported rights in the trademark
10   THRIVE. See generally ECF No. 28. To support its damages claim, Plaintiff has
11   advised that it intends to present testimony from its Co-Founder and Chief Executive
12   Officer, Alex McIntosh, regarding alleged harm to the value of the THRIVE and
13   relatedly, that it intends to present testimony from its damages expert David Drews
14   regarding an award of prospective corrective advertising damages. All such evidence,
15   and any related argument, should be excluded.
16         With respect to alleged harm to the value of the THRIVE mark, any testimony
17   would be wholly without foundation and factual support. Appearing as a 30(b)(6)
18   witness on behalf of Plaintiff, Mr. McIntosh testified that Plaintiff had never
19   conducted any study of the value of the THRIVE mark:
20         Q:     Has Thrive Natural Care ever undertaken an analysis of the value
           of the Thrive -- of the Thrive trademark?
21
           A:      I don't know how to answer that question. We, as part of this
22         matter, have hired experts that provided, I think, testimony to you, Mr.
           Ransom. I can't recall. I think maybe one of those experts had something
23         material, but I'm not sure. You would probably be a better judge of that
           than I.
24
           Q:     Beyond the -- any expert report provided in this case, has Thrive
25         Natural Care ever conducted or had conducted a study or evaluation of
           the value of the Thrive trademark?
26
           A:     Outside of the -- the expert for this matter, who -- again, I don't
27         recall the exact nature of his work I reviewed, but I can't remember the
           exact focus. I do not believe so.
28
                                                -1-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 6 of 15 Page ID #:7042



 1   Declaration of Lauren M. De Lilly in support of Def.’s Joint Mot. in Limine No. 1
 2   (“De Lilly Decl.”), Ex. A [McIntosh 30(b)(6)] at 194:14-195:5. Although Mr.
 3   McIntosh suggested that Plaintiff’s damages expert might have performed such an
 4   analysis, Mr. Drews readily acknowledged that he had not:
 5         Q:     And with respect to the Thrive mark in particular, I apologize if I --
           if I missed this, in evaluating the circumstances of this case, did you
 6         come to an opinion as to the value of the Thrive trademark at any point in
           time?
 7
           A:     No, that was not one of the calculations that I performed.
 8
     De Lilly Decl. Ex. B [Drews] at 15:21-16:2.
 9
           With respect to Mr. Drews’ corrective advertising calculation, Mr. Drews
10
     simply applied 25% to TCI’s advertising expenditures, ostensibly based on guidelines
11
     from the Federal Trade Commission (“FTC”). However, he admitted that he had
12
     made no effort to ascertain what amount would, in fact, be required for a corrective
13
     advertising campaign to redress any alleged infringement. De Lilly Decl. Ex. B
14
     [Drews] at 148:22-25 (“Q: Have you attempted to price out what an advertising
15
     campaign to correct the misimpressions would cost? A: Not in this instance.”); see
16
     also id. at 151:14-152:10.
17
                                            ARGUMENT
18
           A. LEGAL STANDARD
19
           “Lay witness testimony is governed by Rule 701, which limits opinions to those
20
     ‘rationally based on the perception of the witness.’ Rule 702, on the other hand,
21
     governs admission of expert opinion testimony concerning ‘specialized knowledge.’”
22
     United States v. Figeroa-Lopez, 125 F.3d 1241, 1246 (9th Cir. 1997) (citing Fed. R.
23
     Evid. 701). Rule 701 “expressly excludes lay opinion testimony ‘based on scientific,
24
     technical, or other specialized knowledge within the scope of Rule 702.’” Synthes
25
     USA, LLC v. Spinal Kinetics, Inc., 2011 WL 11709387, at *10 (N.D. Cal. Aug. 19,
26
     2011) (citing Fed. R. Evid. 701(c)).
27
28
                                               -2-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 7 of 15 Page ID #:7043



 1         A witness qualified as an expert may testify in the form of opinion or otherwise
 2   if “(a) the expert’s scientific, technical, or other specialized knowledge will help the
 3   trier of fact to understand the evidence or to determine a fact in issue; (b) the
 4   testimony is based on sufficient facts or data; (c) the testimony is the product of
 5   reliable principles and methods; and (d) the expert has reliably applied the principles
 6   and methods to the facts of the case.” Fed. R. Evid. 702; Daubert v. Merrell Dow
 7   Pharmaceuticals, Inc., 509 U.S. 579, 593-94 (1993).
 8         B. PLAINTIFF IS UNABLE TO PROVIDE NON-SPECULATIVE EVIDENCE
 9             REGARDING HARM TO THE VALUE OF THE THRIVE TRADEMARK.
10         The Court should preclude Plaintiff from offering any evidence or argument
11   regarding alleged harm to the value of the THRIVE mark. As an initial matter,
12   trademark valuation requires specialized knowledge that comes from “education,
13   training, [] research,” or some other “form of actual, specific experience.” See
14   Wallach v. Longevity Network, Ltd., 2006 WL 5106208, at *4 (C.D. Cal. Apr. 26,
15   2006). Plaintiff has submitted no evidence that Mr. McIntosh has any specialized
16   knowledge or experience that would qualify him to provide an opinion as to either
17   trademark valuation or any harm to trademark value. But even if he had such
18   theoretical knowledge or experience, Plaintiff has disclaimed any reliance on it here:
19   as noted above, Mr. McIntosh admitted in his Rule 30(b)(6) deposition that Plaintiff
20   had never undertaken any analysis of the value of the THRIVE trademark. Given that
21   testimony, Mr. McIntosh must be precluded from offering evidence or argument at
22   trial that the value of the mark has been harmed. See FiTeq INC v. Venture Corp.,
23   2016 WL 693256, at *6 (N.D. Cal. Feb. 22, 2016) (excluding CEO testimony
24   regarding company valuation where witness previously testified company had not
25   been valued).
26         Nor can Mr. Drews be permitted to fill that gap. As likewise noted above, Mr.
27   Drews also admitted that he had performed no calculations as to the value of the
28   THRIVE mark at any time. Given Mr. Drews’ deposition admissions, any testimony
                                                 -3-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 8 of 15 Page ID #:7044



 1   by Mr. Drews on this issue at trial would not remotely satisfy the Daubert standard.
 2   All evidence and argument regarding any claimed valuation of the THRIVE mark or
 3   alleged harm to that value as a result of the alleged infringement should therefore be
 4   excluded.
 5         C. DREWS’ CORRECTIVE ADVERTISING METHODOLOGY IS ARBITRARY AND
 6             THE RESULTING SPECULATIVE ANALYSIS SHOULD BE EXCLUDED.

 7         Mr. Drews’ failure to conduct any analysis of actual harm to the value of the
 8   THRIVE mark also dooms his corrective advertising opinion. Without accounting for
 9   any alleged harm to the value of the THRIVE mark, any lost sales (which he concedes
10   would be “speculative,” see De Lilly Decl. Ex. B [Drews] at 14:18-24), or any costs
11   associated with actual corrective advertising, Mr. Drews simply applied an arbitrary
12   25% (which Mr. Drews attributes to FTC guidelines applicable to enforcement
13   actions) to TCI’s advertising expenditures, and asserted that it was an adequate
14   method of estimating a prospective corrective advertising award. This purported
15   “methodology” is no methodology at all – it is simply an arbitrary number divorced
16   from consideration of what amount is actually required to compensate Plaintiff.
17         In the Ninth Circuit, “an award of the cost of corrective advertising, like
18   compensatory damage awards in general, is intended to make the plaintiff whole.”
19   Adray v. Adry-Mart, Inc., 76 F.3d 984, 988 (9th Cir. 1995). It does so by allowing the
20   plaintiff to recover the cost of advertising undertaken to restore the value plaintiff’s
21   trademark lost and to “counteract the public confusion resulting from a defendant’s
22   wrongful conduct.” Spin Master, Ltd. v. Zobmondo Entertainment, LLC, 2011 WL
23   13127349, at *10 (C.D. Cal. Sept, 15, 2011) (citation omitted). Where a plaintiff has
24   not yet undertaken any corrective advertising efforts and instead requests an award of
25   prospective corrective advertising, Adray cautions against a “danger of
26   overcompensation” and states that prospective awards should be limited “only to the
27   extent that the amount of money needed for corrective advertising does not exceed the
28   damage done to the value of [plaintiff’s] mark.” Adray, 76 F.3d at 989.
                                                 -4-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 9 of 15 Page ID #:7045



 1         Perhaps not surprisingly, therefore, courts have routinely criticized corrective
 2   advertising awards that are based on arbitrary percentages of defendant’s advertising
 3   expenditures, including the FTC 25% guideline. In Spin Master, for example, the
 4   court excluded the plaintiff’s corrective advertising calculation (based on the same
 5   FTC percentage as here), concluding that there was no basis for finding that an award
 6   of 25% of the defendant’s marketing expenditures was necessary to make the plaintiff
 7   “whole” (or that the basis for a corrective advertising award could be inferred just
 8   from the defendant’s marketing expenditures at all). Spin Master, 2011 WL 13127349
 9   at *10; see also Binder v. Disability Group, 772 F. Supp. 2d 1172, 1180 (C.D. Cal.
10   2011) (rejecting a request of 25% of defendant’s advertising expenditures for
11   prospective corrective advertising and explaining “[a]ny award based on an arbitrary
12   percentage of [d]efendant’s advertising budget is not sufficiently tethered to correcting
13   the nature of the harm suffered”). The court in Int’l Oddities v. Record, 2013 WL
14   3864050 (C.D. Cal. July 22, 2013), clarified that while some courts have looked at the
15   FTC guideline to determine the reasonable cost of corrective advertising, “in all such
16   circumstances, an award of compensatory damages based on potential ‘corrective
17   advertising’ costs must be tied to ‘non-speculative’ evidence that the goodwill
18   associated with the plaintiff’s mark has actually been diminished by the defendant’s
19   conduct.” Id. at *14 (emphasis added). Here, Mr. Drews has not shown that a proper
20   award of corrective advertising could be inferred from TCI’s marketing expenditures
21   alone, nor has he put forth any calculations demonstrating how 25% of TCI’s
22   advertising expenditures is a reasonably certain measure of the amount necessary to
23   render Plaintiff whole.
24         Plaintiff may point to Marketquest Group, Inc. v. BIC Corp., 316 F.Supp.3d
25   1234 (S.D. Cal. 2018), where Mr. Drews similarly opined that 25% of the defendant’s
26   advertising expenditures was an appropriate award of prospective corrective
27   advertising and where the court determined that his opinion was sufficient to put forth
28   before the jury for determination. However, in Marketquest, Mr. Drews actually
                                                -5-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 10 of 15 Page ID #:7046



 1   analyzed harm done to the plaintiff’s mark by comparing the plaintiff’s historical sales
 2   and profits before and after the infringement and calculating the lost profits that could
 3   be attributable to the confusion. Id. at 1301. Here, he made no such calculations. His
 4   testimony as to corrective advertising damages should therefore be excluded.
 5   II.   PLAINTIFF’S RESPONSE TO TCI’S MOTION IN LIMINE NO. 2
 6         The substance of this motion has been significantly affected by the Court’s
 7   summary judgment order, Dkt. 114, which issued after the opening portion of this
 8   motion was served. Some, but not all, of the motion has been mooted. Plaintiff Thrive
 9   Natural Care, Inc. (“Thrive”) responds accordingly.
10         A. TCI’S MOTION IS A DISPOSITIVE MOTION IN DISGUISE
11         As an initial point, this a summary judgment motion in disguise. It seeks to do
12   what TCI in fact did on summary judgment—eliminate Thrive’s corrective advertising
13   damages claim. A motion in limine should not “be used as a substitute for a motion for
14   summary judgment” or “be used to resolve factual disputes or weigh evidence.” Kaneka
15   Corp. v. SKC Kolon PI, Inc., No. CV 11-3397 JGB (RZX), 2015 WL 12696109, at *11
16   (C.D. Cal. Nov. 5, 2015). The court in Kaneka rejected the plaintiff’s motion to bar the
17   defendant from introducing testimony at trial relating to a counterclaim made on
18   grounds the defendant had “failed to provide sufficient evidence for its claim . . . .” Id.
19   The court noted the plaintiff “has not demonstrated that any evidence [defendant]
20   purports to introduce at trial regarding its Lanham Act claim is inadmissible or
21   prejudicial” but instead contended the defendant “has not met its burden.” Id. The court
22   found “[a] motion in limine is not the proper vehicle for this argument.” Id.
23         Here TCI has not pointed to any specific evidence Thrive may offer that is
24   inadmissible or prejudicial. Its argument is rather that Thrive should be blocked entirely
25   from testifying as to its claim for corrective advertising damages. That is improper.
26         B. CORRECTIVE ADVERTISING DAMAGES NO LONGER DIRECTLY AT ISSUE
27         Given the Court’s summary judgment order, corrective advertising damages are
28   no longer directly recoverable for Thrive. On that basis, this motion is generally moot.
                                                -6-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 11 of 15 Page ID #:7047



 1          C. TESTIMONY RELEVANT TO DISGORGEMENT SHOULD BE PERMITTED
 2          One point may require clarification, however. In its summary judgment order, the
 3   Court noted that Thrive cited “evidence that Defendant’s advertising has (1) caused the
 4   parties’ products to appear together in internet searches, (2) caused the price of
 5   advertising to rise, and (3) harmed Plaintiff through the loss of cross-selling
 6   opportunities.” [Dkt. 114 at 10] To be clear, there should be no prohibition to Thrive
 7   offering testimony of this sort at trial in support of its claim that disgorgement of TCI’s
 8   profits is equitable. See 15 U.S.C. § 1117(a); Fifty-Six Hope Rd. Music, Ltd. v.
 9   A.V.E.L.A., Inc., 778 F.3d 1059, 1073 (9th Cir. 2015) (“profits must be granted in light
10   of equitable considerations.”). While Thrive acknowledges that Mr. McIntosh did not
11   conduct a valuation to the THRIVE mark—and would thus not testify that he did—he
12   should not be barred from testifying as to damage caused to Thrive as a company from
13   TCI’s actions. Such testimony is appropriate and relevant. The same is true for David
14   Drews. While he will not be offering testimony to support a request for a corrective
15   advertising damages, he should not be barred from offering any testimony that is
16   relevant to the amount of disgorgement damages Thrive is entitled to under § 1117(a)
17   or that is necessary to rebut TCI’s arguments regarding the amount of disgorgement
18   damages.
19   III.   DEFENDANT’S REPLY
20          Plaintiff’s opposition reveals that it seeks to offer evidence at trial concerning a
21   new damages theory that it never previously disclosed and as to which it has adduced
22   no evidence. The Court should bar Plaintiff from doing so.
23          A.    Plaintiff Cannot Offer Evidence of An Undisclosed Damages Theory.
24          The Court granted TCI’s motion for summary judgment on Plaintiff’s claims for
25   a reasonable royalty and corrective advertising damages. ECF No. 114 at 9-10. Now
26   that Plaintiff has lost both of its actual damages theories, Plaintiff seeks to convert its
27   claim for disgorgement of profits into a claim for actual damages based on speculative
28   assertions of harm. This is improper.
                                                 -7-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 12 of 15 Page ID #:7048



 1         Plaintiff asserts that it should be permitted to offer evidence “as to damage caused
 2   to [Plaintiff] from TCI’s actions.” See supra at 7:12-13. Plaintiff cannot offer evidence
 3   at trial regarding alleged actual damages that it never disclosed during discovery. See,
 4   e.g., Bennion & Deville Fine Homes Inc. v. Windermere Real Est. Servs. Co., 2018 WL
 5   4802011, at *6-7 (C.D. Cal. July 17, 2018) (granting motion in limine to exclude
 6   plaintiff’s damages theory not disclosed in plaintiff’s Rule 26(a) initial disclosures).
 7   Nowhere in its initial disclosures did Plaintiff state that it would seek actual damages
 8   beyond its now-stricken reasonable royalty and corrective advertising claims. De Lilly
 9   Decl. Ex. C. Plaintiff’s failure to do so violates Rule 26(a)’s requirement to provide a
10   “computation of each category of damages claimed” and to “make available . . . the
11   documents or other evidentiary material . . . on which each computation is based,
12   including materials bearing on the nature and extent of injuries suffered.” Fed. R. Civ.
13   P. 26(a)(1)(A)(iii). Plaintiff also never supplemented its disclosures to include any
14   computation of actual harm (e.g., associated with Plaintiff’s claims, referenced above,
15   that infringement caused “the price of advertising to rise” or “the loss of cross-selling
16   opportunities”), see Fed. R. Civ. P. 26(e); De Lilly Decl. ¶ 4, and has made no showing
17   of justification for its failure to do so. See Vinotemp Int’l Corp. v. Wine Master Cellars
18   LLLP [sic], 2013 WL 5366405, *2 (C.D. Cal. Feb. 5, 2013) (failure to disclose damages
19   theory was not harmless as it may require re-opening discovery and moving trial date).
20         Plaintiff’s suggestion that actual damages are simply part of its claim for
21   disgorgement of profits is wrong, and in all events does not relieve Plaintiff of its
22   obligation to comply with Rule 26(a). The Lanham Act authorizes damages in the form
23   of “(1) defendant’s profits, (2) any damages sustained by the plaintiff, and (3) the costs
24   of the action.” 15 U.S.C, § 1117(a). Disgorgement of profits and actual damages are
25   separately recoverable under the statute, and thus Plaintiff was required to disclose any
26   claim that it had suffered actual damages and provide a computation of such damages.
27   Plaintiff utterly failed to do so. See, e.g., Ketab Corp. v. Mesriani Law Grp., 2016 WL
28   5921767, *2 (C.D. Cal. Mar. 18, 2016) (initial disclosures deficient where plaintiff
                                                -8-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 13 of 15 Page ID #:7049



 1   sought “actual damages” based on “lost profits,” but failed to identify its computation
 2   of expenses and lost profits or any underlying documents to support losses claimed).
 3   Plaintiff should not be permitted to sandbag TCI with a new damages theory on the eve
 4   of trial, particularly one as to which it has not produced any discovery. See, e.g.,
 5   Bennion, 2018 WL 4802011, at *6-7. The Court should thus preclude any evidence of
 6   Plaintiff’s alleged actual damages.
 7         B.     Plaintiff’s Purported Evidence of Actual Harm Is Purely Speculative.
 8          Plaintiff should be precluded from offering any evidence of actual harm for the
 9   additional reason that it would be speculative. In addition to producing no evidence of
10   any lost profits, diverted sales, or other actual damages during discovery, Plaintiff has
11   never undertaken any analysis supporting a claim of actual harm.
12         Plaintiff’s putative damages expert Mr. Drews did not perform any calculations
13   regarding actual harm to Plaintiff’s business, conceding it would be “speculative”:
14         Q:     Do you attempt to calculate whether Thrive Natural Care had lost any
           sales as a result of the alleged infringement?
15
           A:    I – I think that would be speculative in this instance. There is not a good
16         way of isolating that particular impact from other factors that may be brought to
           bear here.
17
     De Lilly Decl., Ex. B at 14:18-24, 15:17-20. Testimony from Mr. Drews regarding
18
     any purported assessment or calculation of actual harm would thus be pure conjecture.
19
     Moreover, Mr. Drews testified under oath that he was not offering any opinions other
20
     than those included in his report, De Lilly Decl., Ex. B at 11:16-20, and the opinions
21
     in that report include no analysis of actual damages beyond his unavailing corrective
22
     advertising and reasonable royalty calculations, ECF No. 96-7 at 15, 35-36.
23
           Notwithstanding the foregoing, in its Court-ordered proffer of Mr. Drews’
24
     testimony on October 15, TNC disclosed that it intends to offer Mr. Drews’ discredited
25
     “reasonable royalty” testimony in support of its disgorgement theory, on the ostensible
26
     ground that a reasonable royalty can be used as a “baseline” for disgorgement of profits.
27
     See ECF No. 135 at 3:27-4:21. This Court has already ruled that “there is no legitimate
28
                                                -9-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 14 of 15 Page ID #:7050



 1   basis on which to calculate a royalty award” and that Mr. Drews’ “opinion [on a
 2   reasonable royalty] is based only on speculation.” ECF No. 114 at 8, 9. “Opinion 3”
 3   in TNC’s proffer of Mr. Drews’ testimony should be excluded.
 4         Likewise, Mr. McIntosh cannot testify as to actual harm. Mr. McIntosh testified
 5   during Plaintiff’s Rule 30(b)(6) deposition that Plaintiff’s financial statements did not
 6   include any calculation of the value of Plaintiff’s intellectual property and that he did
 7   not know if the financial statements included a calculation of Plaintiff’s goodwill, or,
 8   as discussed supra at 1:20-28, the amount of harm to the THRIVE mark. See De Lilly
 9   Decl., Ex. A at 195:13-196:1. As Mr. McIntosh has already revealed that he has no
10   knowledge of the baseline value of Plaintiff’s mark, he cannot now testify regarding
11   any actual harm to Plaintiff or its mark resulting from the alleged infringement.
12   Allowing Mr. McIntosh to do so would result in mere guesswork rather than admissible
13   evidence; particularly given that Plaintiff failed to disclose any such actual damages
14   theory or calculation, TCI would be significantly prejudiced by any such testimony.
15
      DATED: October 15, 2021               SIDLEY AUSTIN LLP
16
                                            By: /s/ Rollin A. Ransom
17                                          Rollin A. Ransom (State Bar No. 196126)
18                                          rransom@sidley.com
                                            Lauren M. De Lilly (State Bar No. 301503)
19                                          ldelilly@sidley.com
20                                          Paula C. Salazar (State Bar No. 327349)
                                            psalazar@sidley.com
21                                          SIDLEY AUSTIN LLP
22                                          555 West Fifth Street
                                            Los Angeles, CA 90013
23                                          Telephone: (213) 896-6000
24                                          Facsimile: (213) 896-6600
25
                                            Attorneys for Defendant Thrive
26                                          Causemetics, Inc.

27    Dated: October 15, 2021               THE MCARTHUR LAW FIRM, PC
28
                                               -10-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 149 Filed 10/15/21 Page 15 of 15 Page ID #:7051



 1                                            By: /s/ Stephen C. McArthur
                                              STEPHEN C. MCARTHUR
 2                                            Stephen McArthur
                                              stephen@smcarthurlaw.com
 3                                            Thomas Dietrich
                                              tom@smcarthurlaw.com
 4                                            9465 Wilshire Blvd., Ste. 300
                                              Beverly Hills, CA 90212
 5                                            Telephone: (323) 639-4455
 6
 7
 8                                SIGNATURE ATTESTATION
 9             I am the CM/ECF filer whose identification and password are being used to file
10   the foregoing Defendant’s Joint Motion in Limine No. 1. In compliance with Local
11   Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that every signatory has concurred in this
12   filing.
13   DATED: October 15, 2021                  By: /s/ Rollin A. Ransom
14                                            Rollin A. Ransom

15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 -11-
                              DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
